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THE HONORABLE TIFFANY M. CARTWRIGHT

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT TACOMA

CHRIS ADAMSON, an individual; JASON
BRAY, an individual; LUCAS COLE, an
individual; SHAUN DARBY, an individual;
CYNTHIA FAJARDO, an individual;
JAMES MAAS, an individual; DARRIN
RAYNER, an individual; ELIZABETH
REIGLE, an individual; RYAN OLIVAREZ,

No. 3:21-CV-05592-TMC

PLAINTIFFS’ MOTION FOR
RECONSIDERATION IN PART OF
ORDER ON PLAINTIFFS’ CR 37 MOTION
ON SPOLIATION OF TEXTS, DKT. 203
AT 2, DENYING NEGATIVE INFERENCE

an individual
NOTED: May 8, 2024 within 14 days of the

Plaintiffs,
Court’s Order dated May 3, 2024, Dkt. 203

VS.

PIERCE COUNTY, a local government;
PIERCE COUNTY DEPUTY
PROSECUTING ATTORNEYS JAMES
SCHACHT AND FRED WIST, officially and
individually; SHERIFF PAUL PASTOR,
officially and individually; and ACTING
SHERIFF AND UNDERSHERIFF BRENT
BOMKAMP, officially and individually,
Defendants.

MOTION
Plaintiffs obtained newly discovered evidence on May 3, 2024, specifically work-related
text messages, authored by Defendant Bomkamp, from his personal cell phone with other speaking
agents for Pierce County (Hausner) on personal technology. Bomkamp testified in deposition that
he did not text on work related matters on his group chat set up with the Sheriff's Department

command on their personal devices. Bomkamp’s dishonest testimony is evidence that should

III BRANCHES LAW, PLLC
Joan K. Mell
1019 Regents Blvd. Ste. 204
Fircrest, WA 98466
253-566-2510 ph

PLAINTIFFS’ MOTION FOR RECONSIDERATION IN PART OF ORDER
ON PLAINTIFFS’ CR 37 MOTION ON SPOLIATION OF TEXTS, DKT.
203 AT 2, DENYING NEGATIVE INFERENCE - I of 7

Cause No. 3:21-CV-05592-TMC

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weigh in favor of a spoliation instruction at trial. Defense counsel Cornelius’ statement at the
motion hearing that Bomkamp did not text was incorrect because Bomkamp admitted to texting,
but denied doing so on personal technology, which plaintiffs are able to now prove is also not true.
This new evidence weighs in favor of sanctions. Importantly, the Sheriff's Department has not
completed its review and production of text messages responsive to the PRR, which may include
texts responsive to request for production 20, 21, and 22 that are specific to plaintiffs and the
matters at issue in this case. Pierce County has an affirmative duty to provide responsive texts,
which Bomkamp previously testified falsely would not exist. Plaintiffs’ motion is made pursuant
to LCR 7 (h) and CR 60(b)(2), (3), and (6).
FACTS
Plaintiffs’ Public Records Request

Pierce County Sheriff's Department has been processing plaintiffs’ public records request
of June 8, 2023 for all group text messages among Defendant Bomkamp and department command
staff, Paul Pastor, Ed Troyer, Nick Hausner, Patti Jackson, Lauren Wallin, Kevin Roberts, Gary
Sanders, Mike Blair and Micah Lundborg from personal or county owned technologies. Affixed
Mell Dec. Ex. 1 (PRR Request). Plaintiffs submitted this public records request PRR P025140-
060823 following Defendant Bomkamp’s deposition wherein he testified to the text group among
command on personal technology in his deposition May 17, 2023. Affixed Mell Dec. Ex. 2
(Bomkamp Dep.). To date, PCSD has produced eight installments. The eighth installment was
produced on May 3, 2024, the day after the Court ruled on the spoliation motion. Affixed Mell
Dec. The eighth installment contains work related texts among command to and from defendant
Bomkamp and speaking agent Hausner and others. Affixed Mell Dec. Ex. 3 (Installment 8). PCSD

has more to produce to include texts captured using Smarsh technology implemented November

PLAINTIFFS’ MOTION FOR RECONSIDERATION IN PART OF ORDER II] BRANCHES LAW, PLLC

ON PLAINTIFFS’ CR 37 MOTION ON SPOLIATION OF TEXTS, DKT. dean Biel

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15, 2021 for County owned technology. Affixed Mell Dec. Ex. 4 (E-mail update on PRR). Texts
responsive to RFP 20, 21, and 22 may be in the texts not yet produced. Pastor, Troyer, and Jackson
have denied retention of their work texts on personal technologies; other command staff in the
private technology group chat have retained and produced work texts among them using private
technologies. Affixed Mell Dec. Ex. 5 (PRR Responses). The content of texts produced from
PSCD Command’s group text on personal technology indicate defendants established and used
their personal cell phones to avoid detection. Affixed Mell Dec. Ex. 3 and 5. Defendants texted
about matters in litigation. /d. The texts produced so far date back to 2021 and 2022.
Plaintiffs’ Discovery Requests for Production No. 20, 21, 22

Since 2021, plaintiffs have sought text communications related to this case. Dkt. 138 at
24. RFP 20 and 21 requested text logs for communications about plaintiffs. Dkt. 138 at 23-24.
RFP No. 22 sought texts about plaintiffs or the allegations in the Complaint from personal or work
owned technologies. /d. Defendants have not identified any responsive texts. Jd.

Defendants’ Preservation Obligations

Defendants knew plaintiffs had retained counsel for anticipated litigation in July of 2020.
Dkt. 1-2 at 135. Plaintiffs filed their formal claims for damages on September 29, 2020. Dkt. 1-
2 at 12, Dkt. 32 at 4. Plaintiffs filed suit on July 26, 2021. Dkt. 1 at 2. As of November 17, 2021,
defendants attested they understood their obligations to preserve discoverable information. Dkt.
14 at 5.

Defendants’ Destruction

Pierce County destroyed defendant Bomkamp’s phones and the corresponding data such
as texts after anticipating litigation on September 2, 2020, May 10, 2021, and September 1, 2022.
Dkt. 138 at 120, 122, 137. Bomkamp had four work phones during the relevant time period

PLAINTIFFS’ MOTION FOR RECONSIDERATION IN PART OF ORDER Ill BRANCHES LAW, PLLC

3 Joan K. Mell
ON PLAINTIFFS’ CR 37 MOTION ON SPOLIATION OF TEXTS, DKT. 1019 Regents Blvd. Ste, 204

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applicable to this case. One work phone Bomkamp claimed “fell out of pocket while working in
field on 11/21/21” that the department documented as lost on September 1, 2022. Dkt. 138 at 137.
Bomkamp was Undersheriff and not likely working in the field at that time. Pierce County
similarly destroyed Pastor’s phones, February 18, 2020, January 25, 2021, April 17, 2021. Dkt.
138 at 120. Bomkamp produced limited work texts from his personal phone in response to the
PRR, not the RFPs. Affixed Mell Dec. Ex. 5. Pastor said he retained none. Jd. Jackson and Troyer
have stated they did not retain work texts from their personal technology. Affixed Mell Dec. Ex.
5. Jackson is presently running against Fajardo for Sheriff since Troyer is not running.
Defendants’ Dishonesty

Defendants have deliberately misled plaintiffs and the Court about texting and never timely
looked for responsive records. Defendants may still have responsive records that they have failed
to produce that have been compiled but not yet disclosed using Smarsh technologies implemented
in November of 2021 in response to plaintiffs PRR Request.

On May 2, 2024, defense counsel Cornelius in opposition to the CR 37 motion stated
Bomkamp did not text. Bomkamp testified in deposition that he did text. Affixed Mell Dec. Ex.
2. (Bomkamp Dep.). Bomkamp testified that he did not text work texts with his command staff
using his personal technology. /d. Bomkamp does text using his personal phone about work
matters. Affixed Mell Dec. Ex. 3 and 5 (Installment 4 and 8). So does the County’s speaking
agent Nick Hausner, which he downplayed in his deposition. Jd. and Affixed Mell Dec. Ex. 6
(Hausner Dep.). As of May 17, 2023, defendant Bomkamp had not searched for any texts
responsive to RFP 20, 21, or 22. Pastor was not well informed about the text practices of his office.
Affixed Mell Dec. Ex. 6. (Pastor Dep.)

Plaintiffs’ CR 37 Motion - Spoliation

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ON PLAINTIFFS’ CR 37 MOTION ON SPOLIATION OF TEXTS, DKT. Joan K. Mell

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Plaintiffs moved under CR 37 for a spoliation instruction. Dkt. 142. Plaintiffs moved for
the instruction following several motions to compel discovery specific to text messages and the
Court ordering Pierce County to produce requested text records and texts were not produced. RP
12/19/24. The Court denied the motion for sanctions on two grounds. The Court found the absence
of any intentional wrongdoing and further was unable to find any texts relevant because responsive
texts had not been produced or located from any other source to prove the existence of relevant
records. Dkt. 203 and RP 5/2/224. This motion provides direct evidence of misconduct in that the
witnesses have been deceptive and dishonest in addition to intentionally delaying substantive
responses. Defendants’ deception and dishonesty should not be left unaddressed. Plaintiffs have
been denied access to text evidence that given the recent texts made available through the PRA
provide constructive evidence that defendants likely hid relevant texts in this matter on personal
technologies or on technologies that have since been destroyed.

LEGAL ARGUMENT

The standard of proof for spoliation sanctions is preponderance of the evidence. Fast v.
GoDaddy.com, LLC, 340 F.R.D. 326 (D. AZ 2022). Courts have inherent power to levy sanctions
in response to abusive litigation practices. Leon v. IDX Systems Corp., 464 F.3d 951 (9" Cir.
2006). Deliberately deceptive practices that undermine the integrity of judicial proceedings may
be severely sanctioned because such intentional misconduct is “utterly inconsistent with the
orderly administration of justice.” /d. The failure to suspend automated destruction practices upon
notice of litigation is sufficient to warrant instruction. Apple Inc. v. Samsung Electronics Co., Ltd,
888 F.Supp.2d 976 (N.D. Cal. San Jose Div. 2012). In the 9"" Cir., the spoliation of evidence raises
a presumption that destroyed evidence goes to the merits of the case and that such evidence was

adverse to the party who destroyed it. /d. at 993. Too strict a standard of proof regarding the likely

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contents of the destroyed evidence would allow parties who have destroyed evidence to profit from
that destruction. /d. citing Residential Funding, 306 F.3d at 109. It is not necessary to prove what
was destroyed: “though neither Apple nor the Court may ever know the contents of any destroyed
Samsung emails, the fact that the emails of key Samsung witnesses were among those destroyed
permits the reasonable inference that Apple was prejudiced by Samsung’s spoliation.” Jd. at 993.
The appellate court concluded the following instruction appropriate:

“Samsung Electronics Company has failed to preserve evidence for Apple’s use in this

litigation after its duty to preserve arose. Whether this fact is important to you in reaching

a verdict in this case is for you to decide.”

Plaintiffs have more evidence of abusive discovery practices by Pierce County in this matter than
was evident in the Apple Inc. case where an instruction was authorized.

Here Pierce County has admitted that it destroyed the phones used by defendants Pastor
and Bomkamp since it knew of the potential litigation. The destruction of their technologies and
the failure to having even attempted to search such technologies prior to destruction evidences
disregard of the discovery process. The new evidence now proves that Bomkamp testified
untruthfully about his text practices and Hausner was deceptive as well. Given the new evidence
of dishonesty and deception, plaintiffs renew their request for a spoliation instruction and request
the Court sanction Bomkamp for his dishonesty.

CONCLUSION

For the reasons previously stated, plaintiffs respectfully request the Court grant

reconsideration and order sanctions and authorize a spoliation instruction and that Pierce County

immediately produce any texts from the PRR search that mention plaintiffs or their claims in this

litigation.

PLAINTIFFS’ MOTION FOR RECONSIDERATION IN PART OF ORDER II BRANCHES LAW, PLLC

ON PLAINTIFFS’ CR 37 MOTION ON SPOLIATION OF TEXTS, DKT. Joan X Mell

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rtify this brief meets the word count requirements of less than the 2500

rule limit.

Mell, WSBA # 21319

this 8th day of May, 2024 at Hamilton, MT.

anches Law, PLLC

Mell, WSBA #21319
ey for Plaintiffs

AFFIXED DECLARATION

I, Joan K. Mell, make the following statement under oath subject to penalty of perjury
under the laws of the State of Washington and the United States:

Attached are true and correct copies of the following documents:

Exhibit 1: Plaintiffs’ PRR for Group Texts

Exhibit 2: Excerpted Bomkamp Deposition Testimony

Exhibit 3: PRR Installment 8 produced May 3, 2024.

Exhibit 4: Public Records Officer Communications

Exhibit 5: PRR Installments

: Excerpted Pastor and Hausner Depositions

red ae May, 2024 at Hamilton, Ravalli County, MT.

ell
for Plaintiffs

PLAINTIFFS’ MOTION FOR RECONSIDERATION IN PART OF ORDER IH eer il ere PLLC
ON PLAINTIFFS’ CR 37 MOTION ON SPOLIATION OF TEXTS, DKT. ec
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EXHIBIT 1
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Attention: Public Records SECO,

Pierce County Sheriff — e.

3602 Pacific Avenue, Suite 100 Pierce County
Tacoma, WA 98418 Request for Access to
EMAIL: SHRpublicrecords@piercecountywa.gov i
FAX: (253) 798-7366 Public Records

Requests and production are governed by Chapter 42.56 RCW and Chapter 2.04 Pierce County Code (PCC)

Instructions:
1. Complete Section A of the form. If you are requesting a list of individuals you must also complete Section B.
2. Mail, email, personally deliver, or fax completed form to the designated public records officer for the

Pierce County Department/Office shown above.

SECTION A Requester Contact Information/Description of Requested Records - Please PRINT

Requester Name Business Name

Joan K. Mell Ill Branches, PLLC
Mailing Address City, State — Zip Code
1019 Regents Blvd. Ste. 204 Fircrest, WA 98466
Phone Number Fax Number Email

253-566-2510 none joan@3brancheslaw.com

Method of Record Review. Please Select one:

Do not make copies, but arrange for in person inspection at department, PCC Chapter 2.04. | may request
copies of specific records after in person review.

Mail copies (E) Email records via file transfer protocol [tot copies for pickup

Please describe the SPECIFIC record(s) you are requesting, including dates(s):
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SECTION B The following must also be signed ONLY if you request any list of individuals.

I declare under penalty of perjury under the laws of Washington that the following is true and correct: I will not use any
requested list of individuals for a commercial purpose (profit expecting activity).

Signed this day of ,202_ at ___ (city), (state). RCW 42.56.070(8) and PCC 2.04.030(D)(4)

Requester’s Signature:

PRR Form Rev, 9/2017

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EXHIBIT 2
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Adamson, et al vs Pierce County

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So I'm going to instruct him not to. I can give
it to you separately, Joan, and I think that's
sufficient. You don't need to have it in this record.

I question your motives for demanding that it be
made in the record. So I'm going to instruct the witness
not to.

Q (By Ms. Mell) Are you going to give me your
phone number?

A On advice of counsel, I'm declining to answer
that question.

Q Do you text from your personal phone?

A Yes.

Q Do you text command?

A Occasionally.

Q Okay. And have you checked your personal cell
data to look for text responsive to the discovery
requests in this case?

A No.

Q Why not?

A I don't use my personal phone for work-related
purposes.

Q When you text command, do you ever comment about
work?

A No.

Q So if you need to talk to command about work,

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what do you do?

A I talk to them on my work phone or text them on
my work phone.

Q Okay. Did you search your work phone for
content related to this case?

A I haven't yet.

Q Why not?

A I haven't had time. I'm still working.

QO Have you been asked to search?

MR. CORNELIUS: Object to form.

Go ahead and answer if you can answer.

THE WITNESS: I believe there may be
something --

MR. CORNELIUS: Again, I'll object to the extent
it calls for any attorney-client privilege.

But go ahead and answer to the extent that you
can.

THE WITNESS: My recollection is there is a
request related to phone records, but I can't be
specific.

Q (By Ms. Mell) And do you know when you learned
that there was a request for your information?
A Not specifically.
Q Do you remember deliberately making this
decision not to respond to that request?
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MR. CORNELIUS: Object to form.

Go ahead and answer if you can answer.

THE WITNESS: I did not deliberately not
respond.

Q (By Ms. Mell) When do you intend to respond?

MR. CORNELIUS: Object to form.

But go ahead and answer if you can answer.

THE WITNESS: I need to make it a priority the
rest of this week and early next week to provide the
information that I can to my attorney.

Q (By Ms. Mell) Will you check your personal
phone just to be sure you don't have any work-related
communications there?

MR. CORNELIUS: Object to the form.

Go ahead and answer if you can answer.

I believe this witness already testified
regarding that question. So asked and answered too.

Go ahead and answer if you can answer.

THE WITNESS: I will check. I'm confident
there's nothing.

Q (By Ms. Mell) Did you call and text Paul Pastor
in 2020 in regards to the SIU?

A I don't know. I don't have any specific
recollection. I don't ever remember texting Paul Pastor.

Q When you say you don't ever remember texting

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Paul Pastor, how did you communicate with Paul Pastor?

A Typically by phone or in person.

Q Why did you do it that way?

A That was the way that we typically communicated.
I don't have a reason.

Q Did you typically communicate that way so that
there would not be a written record subject to public
disclosure?

MR. CORNELIUS: Object to form.

Go ahead and answer if you can answer.

THE WITNESS: No.

Q (By Ms. Mell) Did you have you any issues
whether to text or talk in person or via telephone to
your colleagues?

MR. CORNELIUS: Object to form.

But go ahead and answer if you can answer.

THE WITNESS: I typically don't text. I
typically have conversations with people. I'm not a
person that texts a lot.

Q (By Ms. Mell) How many work phones have you had

Since 2019?

A At least two. Could be more.

Q Do they all have the same phone number?

A Yes.

Q And do you know how the department -- well,

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strike that.

What is your practice with regard to the text
messages you create on your work phone?

MR. CORNELIUS: Object to the form.

Go ahead and answer if you can answer.

THE WITNESS: What is my practice with them?

Q (By Ms. Mell) Yeah.

A My understanding is that they are captured
through -- through the department's email system. So
they are retained in that manner. I don't retain
everything on my phone.

QO so do you delete your texts?

Yes.

You do that routinely?

> 10 Pp

I don't have a routine for when I do it, no.
QO And you've deleted your texts since you were
issued a department phone?
A Yes.
MR. CORNELIUS: Object to form.
But go ahead and answer if you can answer.
Q (By Ms. Mell) And what do you know about the
department capturing texts in 2019?
A I don't know when it started happening.
Q Okay. Do you think it's been fairly recent?

A I don't know if it was before or after 2019.

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Q Do you know if it was in relationship to the
lawsuit against the department for deleting texts?
MR. CORNELIUS: Object to form.
But go ahead and answer if you can answer.
THE WITNESS: I don't know if that was causal.
Q (By Ms. Mell) Do you recall learning that texts
were being deleted?
A Yes.
Q What did you do about it?
MR. CORNELIUS: Object to form.
Go ahead and answer if you can answer.
THE WITNESS: I didn't do anything about it.
Q (By Ms. Mell) Why not?
MR. CORNELIUS: Same objection.
THE WITNESS: I don't know.
Q (By Ms. Mell) Do you know if anybody did
anything about it?
A No, I don't.
Q Do you know now whether or not your texts that
you delete are being retained?
A My understanding is they are, yes, through the
email system.
Q And how are they being retained through the
email system?

A I know that when there is a text on your phone,

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shortly thereafter, the text shows up in your email.

Q And then what do you do about the emails? Are
you able to delete the email?

A I can delete it from my personal account, but it
never -- it's retained by the county.

Q How do you know that?

A That's what I've been told. I don't recall from
whom.

Q Have you ever performed any audit functions to
know whether or not it's working?

A No.

Q Do you remember who told you that?

A No.

Q Is it correct that that change in technology
occurred in 2022?

A I don't know.

Q Do you know whether phones that contain digital
data like text messages have been wiped out and wiped
clean, deleting text messages and communication data when
employees leave the department?

MR. CORNELIUS: Object to form.
Go ahead and answer if you can answer.
THE WITNESS: I don't know.
Q (By Ms. Mell) And do you know that IT wipes

clean the phones when they issue a new phone?

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MR. CORNELIUS: Object to form.
But go ahead and answer if you can answer.
THE WITNESS: I don't know that, no.

Q (By Ms. Mell) Do you know what kinds of
communications you create are subject to retention and
how long?

MR. CORNELIUS: Object to form.

But go ahead and answer if you can answer.

THE WITNESS: I don't know how long. I'm
guessing if I sent emails, documents, notes; I believe
text messages, phone records.

Q (By Ms. Mell) Do you know how long the
retention schedule is for those communications you
Create:

MR. CORNELIUS: Object to form.

Go ahead and answer if you can answer.

THE WITNESS: I don't know. Seven years is
coming to my head, but I could be wrong.

Q (By Ms. Mell) Do you use Instant Messaging?

A I don't even know what that is.

Q Do you use any digital platforms that do not
continue to exist after receipt?

A No.

MR. CORNELIUS: Object to form.

QO (By Ms. Mell) Do you communicate through any

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applications on your laptop with your command staff?
A No.
MR. CORNELIUS: Object to form.
THE WITNESS: Not other than email.
Q (By Ms. Mell) Right. I was asking about other
platforms than email.

Do you recall getting any texts in your email in

A No.
Q Have any of your staff been disciplined for
deleting text messages?
A I don't think so.
Q Is it against department policy to delete text
messages?
A Possibly. I don't know for sure. It's a public
record; I would assume, yes.
QO Is there a specific policy on texting within the
department?
MR. CORNELIUS: Object to the form.
But go ahead and answer if you can answer.
THE WITNESS: I don't know the specific policy.
My kind of vague recollection is it's -- texting can be
used for kind of nonspecific report-related things like,
hey, do you want to meet at such and such a coffee shop

or I'll be done in 10 minutes and we can go to lunch,

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platform?

those types of things. And those types of things don't
need to be retained. Anything that's work related needs

to be retained.

(By Ms. Mell) Do you know about the Signal

The what?

An application called Signal?
No.

MR. CORNELIUS: Object to form.

(By Ms. Mell) Do you group chat on your private

Yes.

And do you group chat with colleagues from work?
Occasionally.

And who is in your group chat?

MR. CORNELIUS: Object to form.

But go ahead and answer if you can answer.

THE WITNESS: I don't know for sure. I think

it's probably the sheriff, Lauren Wallin, Eddy Jackson,
Nick Hausner, Kevin Roberts, Micah Lundborg, possibly

Gary Sanders.

Q And what's this group chat called?
MR. CORNELIUS: Object to form.
But go ahead and answer if you can answer.
THE WITNESS: I don't think it has a name.
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Q (By Ms. Mell) And how do you use it?

MR. CORNELIUS: Object to form.

But go ahead and answer if you can answer.

Are you talking about currently, Joan? Are you
talking about currently?

Q (By Ms. Mell) Ever.

MR. CORNELIUS: Object to form.

But answer if you can answer.

THE WITNESS: I don't have any specific
recollection right now of what it was used for. It
wasn't work related. I know that because there's been
discussion about dump use that's for work-related
activity.

Q (By Ms. Mell) Okay. But they are all
coworkers; right?

A Yes.

Q Okay. And was that group chat established for
political reasons? So you could be politically
supportive of one another?

It didn't come into being with the campaign?

I think that was a no.

These individuals you identify, do you consider
them your peer group, I mean, like friends?

A Yes.

Q So you socialize with them?

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A Can you be specific on what you mean by
socialize?
QO Off-work-hours activities together.

A No.

chat with your coworkers on your private phone?
A I can't even recall what the topic was the la
time we all did it.
Q Was it intended to allow you to communicate
without it being a public record?
A No.
Q Was it intended to -- I'll strike that.
What do you recall the group chatting about?
A I can't recall anything right this particular
moment.
Q Are you able to look at your phone and tell o
refresh your recollection right now?
A I don't have it with me.
Q I would ask that you revisit that group chat.
And if there's any content that in any way relates to
county business, that it be made available.
MR. CORNELIUS: I'11 object to form.
MS. MELL: What's the objection?
MR. CORNELIUS: Again, Joan, I don't think th

has any relevance to this proceeding. And to the exte

Q Okay. So then what is the purpose of your group

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that you're asking something that goes beyond this
deposition or anything involving this proceeding that I
have an objection to. I think he's answered the
question.

MS. MELL: He says he couldn't recall, Frank.

Q (By Ms. Mell) Back to Blair.

Were you involved in what he disclosed to the
press?

A I don't have a specific recollection of
discussing it. I know that if we responded to the press,
we likely did so with counsel. It was an agreement as to
how we would respond to inquiries from the press.

Q So tell me about that agreement.

MR. CORNELIUS: Object to form, to the extent
that it requires disclosure of attorney-client privilege.

To that extent I would instruct the witness not
to answer. To the extent that he can answer, go ahead
and answer.

THE WITNESS: I'm not sure just what happened
here.

I guess on advice of counsel, I'm declining to
answer.

MS. MELL: Frank, do you want to revisit that
objection, given your motion?

MR. CORNELIUS: Which motion are you referring

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EXHIBIT 4
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PIERCE COUNTY WA PUBLIC RECORDS REQUEST CENTER 5/7/24, 10:51AM

Subject: [Records Center] Sheriff :: PO25140-060823
Body:
Joan -

| received your message, and the most recent installment were some text messages
from personal devices, specifically, Hausner's and Bomkamp and an email from Pastor
saying he had no messages.

Thanks.

Candice

https://piercecountywa.govqa.us/WEBAPP/_rs/(S(kyhrpnz2g4igmwo...sSessionID=7314056151:65150KSKUVWP[YQWLJWCTCGN[BKZQ&rid=25140 Page 5 of 6
Case 3:21-cv-05592-TMC Document 208 Filed 05/08/24 Page 50 of 97

Wednesday, May 8, 2024 at 17:15:26 Mountain Daylight Time

Subject: Public Record Request P025140 (Text Messages)

Date: Wednesday, May 8, 2024 at 9:02:14 AM Mountain Daylight Time
From: Candice Mauracher

To: Joan Mell

Attachments: image001.jpg, image002.jpg
Joan,

| understand you are having significant issues with GovQA. Per our
agreement, | am transmitting all installments via GovQA and will also start
transmitting via OneDrive. Please download the records send in
OneDrive as they have an expiration date.

As you know, initially | was working on producing text messages that were
captured in SMARSH but you asked that | turn my focus to the personal
phones which was done beginning with installment #4. The outline for the
records is below. Please note | am still working on revieing Chief Roberts’
messages and | will then move on to Lundborg and finally | will go back to
SMARSH.

FROM GovQA

To date, we have released to you the following installments:

Installment 1:
Text Messages

Date Produced:
09/06/2023 (payment received 09/05/2023)

Pages:
1-272

Installment 2:
Text Messages

Date Produced:

10f5
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11/27/2023

Pages:
271-445

Installment 3:
Text Messages

Date Produced:
12/01/2023

Pages:
446-730

Installment 4:
Bomkamp & Hausner Text Messages & Pastor's Response
Regarding Text Messages

Date Produced:
03/12/2024 (payment received)

Pages:
731-991

Installment 5:
Wallin & Blair Text Messages

Date Produced:
04/15/2024

Pages:
992-1013

Installment 6:
Sanders Text Messages & Emails from Jackson and Troyer
Regarding Text Messages

20f 5
Case 3:21-cv-05592-TMC Document 208 Filed 05/08/24 Page 52 of 97

Date Produced:
04/22/2024

Pages:
1014-1022

Installment 7:
Roberts Text Messages

Date Produced:
04/25/2024

Pages:
1023-1028

Installment 8:
Roberts Text Messages

Date Produced:
05/03/2024

Pages:
1029-1093

At this time, we are prepared to produce an installment of
records.

If exemptions to disclosure were identified and applied,
please see the corresponding exemption log for further
information.

These records do not meet the fee threshold; therefore, these

records are produced to you at no cost and released to you
via the Public Records Request Portal. Please log back into

30f 5
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the "My Request Center" within the portal to access all
released records. Select this request and select "View Files".

Pursuant to RCW 42.56.120(4) and Pierce County Code
2.04.040(H) if you do not inspect or retrieve these records
made available to you through the County web portal or file
transfer protocol service within 30 calendar days, by Tuesday,
June 4, 2024, after receiving this notice of the availability of
the records, this agency may stop providing further
installments of records and close out the request.

It will take additional time for us to review all the files that may
contain records responsive to your request and to determine
which records or portions of records, if any, are exempt
pursuant to law. Accordingly, we estimate that we will be
providing the next installment of records to you on or

before Wednesday, May 22, 2024.

| will notify you if records are available sooner, more time is
required to complete the search for responsive records, or if
additional clarifying information is needed from you. If you
have any questions, believe we have somehow
misunderstood your request(s) or wish to clarify your request,
please do not hesitate to contact me. To respond via

the Public Records Portal, open this request “Details” page
and send a “New Message”.

Sincerely,

Candice M

Public Records Officer
Pierce County Sheriff

Let me know if you have any issues with downloading any of the records
from OneDrive. | have added all 8 installments to the Drive and will send
you the invite to the records immediately following this email.

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Thank you!

Candice Mauracher

Public Records Officer, CPRO | Legal Assistant IV
253-798-4800

Pierce County Sheriff’s Department
SHRpublicrecords(@piercecountywa.gov

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regardless of any claim of confidentiality or privilege asserted by an external party.

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EXHIBIT 5
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Candice Mauracher

== a ES Al
From: Ed Troyer
Sent: Monday, January 8, 2024 3:15 PM
To: Candice Mauracher
Subject: RE: Public Records Request (P024880)

| do not have any.

From: Candice Mauracher <candice.mauracher@piercecountywa.gov>

Sent: Monday, January 8, 2024 1:44 PM

To: Patti Jackson <patti.jackson@piercecountywa.gov>; Gary Sanders <gary.sanders@piercecountywa.gov>; Kevin
Roberts <kevin.roberts@piercecountywa.gov>; Ed Troyer <ed.troyer@piercecountywa.gov>

Subject: RE: Public Records Request (PO24880)

| have not received the text messages from your personal phones as requested. | sent a reminder on
11/30/2023. | still need messages from you all from your personal phones. Please get me screen
shots of the messages by Friday, January 19, 2024. | would like to close this request by the end of
the month. Thanks!

Candice Mauracher

Public Records Officer, CPRO | Legal Assistant IV
253-798-4800

Pierce County Sheriff's Department
SHRpublicrecords@piercecountywa.gov

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privilege asserted by an external party.

From: Candice Mauracher

Sent: Monday, June 12, 2023 2:49 PM

To: Brent Bomkamp <brent.bomkamp@piercecountywa.gov>; Nick Hausner <nick.hausner@piercecountywa.gov>;

Micah Lundborg <micah.lundborg @piercecountywa.gov>; Patti Jackson <patti,jackson@piercecountywa.gov>; Gary
Sanders <gary.sanders@piercecountywa.gov>; Kevin Roberts <kevin.roberts@piercecountywa.gov>; Lauren Wallin

<lauren.wallin@piercecountywa.gov>

Subject: Public Records Request (P024880)

Importance: High

| have received the below request:

“Make available for public inspection all group text
messages among Paul Pastor, Brent Bomkamp, Micah
Lundborg, Nick Hausner, Patti Jackson, Ed Troyer,
Gary Sanders, Kevin Roberts, Lauren Wallin, or Mike

i
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Blair on work or personal technologies that relate to the
conduct of government or the performance of any
governmental or proprietary function from 2019 to the
present date. Please provide affidavits per Nissen case
for searches of private technologies. This request is for
all group chats or conversations among all or some of
the above listed employees.”

Requestor: Joan Mell
Email: joan@3brancheslaw.com
Phone #: 253.566.2510

| need you to all check your work cell phones for any and group text
messages as outline herein above. Additionally, please check your private
cell phones for group messages regarding the same as outlined herein
above. The end date should be May 24, 2023.

| will need to hear back from you all no later than Friday, June 23,
2023. Thank you!

Candice Mauracher

Public Records Officer, CPRO | Legal Assistant IV
253-798-4800

Pierce County Sheriff's Department
SHRpublicrecords@:piercecountywa.gov

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privilege asserted by an external party.
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Candice Mauracher

ET a Sa See
From: Patti Jackson
Sent: Monday, January 8, 2024 1:51 PM
To: Candice Mauracher; Gary Sanders; Kevin Roberts; Ed Troyer
Subject: RE: Public Records Request (P024880)

| checked and did not have any work related text saved on my personal phone so! did not have to send to you. | do
know that I’m supposed to forward everything to my work related phone from that point forward.

Thank you - Pj
Chief Jackson
G3) Pierce County Sheriff Department | Patrol Operations
Phone 253-798-2299

From: Candice Mauracher <candice.mauracher@piercecountywa.gov>

Sent: Monday, January 8, 2024 1:44 PM

To: Patti Jackson <patti.jackson@piercecountywa.gov>; Gary Sanders <gary.sanders@piercecountywa.gov>; Kevin
Roberts <kevin.roberts@piercecountywa.gov>; Ed Troyer <ed.troyer@piercecountywa.gov>

Subject: RE: Public Records Request (PO24880)

| have not received the text messages from your personal phones as requested. | sent a reminder on
11/30/2023. | still need messages from you all from your personal phones. Please get me screen
shots of the messages by Friday, January 19, 2024. | would like to close this request by the end of
the month. Thanks!

Keon AN ace
Candice Mauracher

Public Records Officer, CPRO | Legal Assistant IV
253-798-4800

Pierce County Sheriff's Department
SHRpublicrecords@piercecountywa.gov

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record. Accordingly, this email, in whole or in part, may be subject to disclosure pursuant to RCW 42.56, regardless of any claim of confidentiality or
privilege asserted by an external party.

From: Candice Mauracher

Sent: Monday, June 12, 2023 2:49 PM

To: Brent Bomkamp <brent.bomkamp@piercecountywa.gov>; Nick Hausner <nick.hausner@piercecountywa.gov>;

Micah Lundborg <micah.lundborg@piercecountywa.gov>; Patti Jackson <patti.jackson@piercecountywa.gov>; Gary
Sanders <gary.sanders@piercecountywa.gov>; Kevin Roberts <kevin.roberts@piercecountywa.gov>; Lauren Wallin

<lauren.wallin@piercecountywa.gov>

Subject: Public Records Request (PO24880)

Importance: High

| have received the below request:

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“Make available for public inspection all group text
messages among Paul Pastor, Brent Bomkamp, Micah
Lundborg, Nick Hausner, Patti Jackson, Ed Troyer,
Gary Sanders, Kevin Roberts, Lauren Wallin, or Mike
Blair on work or personal technologies that relate to the
conduct of government or the performance of any
governmental or proprietary function from 2019 to the
present date. Please provide affidavits per Nissen case
for searches of private technologies. This request is for
all group chats or conversations among all or some of
the above listed employees.”

Requestor: Joan Mell
Email: joan@3brancheslaw.com
Phone #: 290.566.2510

| need you to all check your work cell phones for any and group text
messages as outline herein above. Additionally, please check your private
cell phones for group messages regarding the same as outlined herein
above. The end date should be May 24, 2023.

| will need to hear back from you all no later than Friday, June 23,
2023. Thank you!

Candice Mauracher

Public Records Officer, CPRO | Legal Assistant IV
253-798-4800

Pierce County Sheriffs Department
SHRpublicrecords@piercecountywa.gov

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privilege asserted by an external party.
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Candice Mauracher a
From: Paul Pastor <04pastor@gmail.com>

Sent: Monday, October 30, 2023 12:51 PM

To: Candice Mauracher

Subject: Re: Public Record Request P024880

Ms. Mauracher:
| have nothing. | intentionally did not keep anything of the sort.
Thank you for seeing to this.

Paul Pastor

On Wed, Oct 25, 2023 at 1:29 PM Candice Mauracher <candice.mauracher@ piercecountywa.gov> wrote:

Good afternoon!

We have received a public record request from Attorney Joan Mell asking
for the following records:

Make available for public inspection all group text messages
among Paul Pastor, Brent Bomkamp, Micah Lundborg, Nick
Hausner, Patti Jackson, Ed Troyer, Gary Sanders, Kevin
Roberts, Lauren Wallin, or Mike Blair on work or personal
technologies that relate to the conduct of government or the
performance of any governmental or proprietary function from
2019 to the present date. Please provide affidavits per Nissen
case for searches of private technologies. This request is for all
group chats or conversations among all or some of the above
listed employees.

Can you please let me know if you have any text message records as
requested hereinabove by the close of business Wednesday, November 1,
2023? The timeframe is 01/01/2019 — 05/24/2023. If you have records |
will need copies of the text messages ASAP following November 1, 2023.
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Thank you and | hope you are doing well!

Candice Mauracher

Public Records Officer, CPRO | Legal Assistant IV
253-798-4800

Pierce County Sheriff's Department

SHR publicrecords(c?piercecountvwa.gov

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HAUSNER — PC SPEAKING AGENT
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Q Dishonest statement by any plaintiff.

A I'm thinking -- I'm thinking not.

Q Okay. Can you identify any Pierce County
Sheriff's Department policy, regulation, procedure, or
protocol you allege was violated by any plaintiff and was
a reason for reassigning any plaintiff from 2019 forward?

MR. CORNELIUS: Object to form.

THE WITNESS: No.

Q (By Ms. Mell) Can you talk about Pierce County's
retention and preservation of text messages after 2019?

A Yes. What would you like to know?

Q Explain to me the practice and procedure --
well, I guess we can start with, who all is assigned text
capabilities on county technology within the department?

A Anybody that's issued a department cell phone
would have the ability to text. The department cell
phone is a -- standard issue is the iPhone. There are
some flip phones that we issue out on occasion for
special circumstances. But generally they are iPhones
and they all have texting capabilities.

So anybody that is issued a phone -- and not to
insinuate that everybody in the sheriff's department is
issued a phone, because they are not. But I believe --
well, all commissioned staff are.

Q What is the policy with regard to use of text

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messages?
A What is -- there is no policy in our policy

manual regarding the use of text messages.

Q Is there anything in the policy that prohibits
use of personal technology for work purposes?

A There's nothing in policy the prohibits using
personal technology for work, purposes that I'm aware of.

Q How does Pierce County retain work-related texts
from personal technology?

A So if somebody uses their personal phone for
personal reasons, it's up to that individual to retain
the text messages in some fashion. How they do that is
independent of them.

OQ Are you on a text chain with command staff on
your personal phone?

A I don't have, like -- I know some people have,
like, established text groups. I don't have established
text groups, but I have been involved in text messaging
between other command staff members.

Q Does that include Bomkamp?

A Yes.

Q And have you looked for and turned those over in
this case as to any that relate to this indication?

MR. CORNELIUS: Object to form. Beyond the

scope.

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THE WITNESS: I have reviewed my text messages
recently, and I don't believe I have any text messages
related to this case.

Q (By Ms. Mell) Did -- with regard to work
technologies and texting, were the texts stored anywhere,
captured and stored?

A Not that I'm aware of. At the time in 2020, no.

Q Are they now?

A Text messages are stored now on work-related
technologies.

Q How are they stored?

A They are stored using a system called Smarsh.
And what Smarsh does is captures all text messaging --

MS. MELL: I'm sorry. There's somebody who has
been arrested that I'm trying to make sure they are okay.
So hold on just a second. I'm sorry.

THE WITNESS: Absolutely. Give me a chance to
eat my granola bar.

MS. MELL: Okay. I think that will be the last
interruption. They were released, so we should be good.

Q (By Ms. Mell) When did you adopt Smarsh?

A I believe it was in 2021.

QO Why was it adopted?

A To have a way to archive text messaging.

Q

Is it because of this case?

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A I don't believe it was because of this case.

QO Was this case a factor in the decision to adopt
Smarsh?

MR. CORNELIUS: Object to form. Beyond the
scope.

THE WITNESS: I'm not aware that it was.

Q (By Ms. Mell) Were you involved in the
decision-making to adopt Smarsh?

A I've always had an interest in having the
ability to capture text messages. But as far as the
decision-making process with Smarsh, I was not involved.

Q Were Pastor's texts deleted?

MR. CORNELIUS: Object to form.

THE WITNESS: I'm not sure if Pastor had any
texts. I know that during my tenure with Sheriff Pastor,
I never -- I don't think I ever got a text from him. I
don't think he was a texting person.

Q (By Ms. Mell) Was there a protocol in place
before you got to Smarsh to capture texts on work
technology before the phone was decommissioned?

A No.

Q So when was Pastor's phone decommissioned?

A Let me clarify.

MR. CORNELIUS: Object to form. Beyond the

scope.

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THE WITNESS: Let me clarify on the first one
before we move onto that one.

I'm not sure when -- exactly when Smarsh came in
and when exactly I authorized the purchase of some
equipment in our information technology unit to capture
information from phones when they are turned in. So that
started happening before Smarsh came into effect.

Q (By Ms. Mell) Do you know whether or not you
captured text messages in any capacity before Pastor's
phone was recommissioned?

A I didn't understand the question. Did we
capture?

QO Taken out of commission, not recommissioned.
Taken out of commission?

A I don't know.

So prior to having these two different
technologies, Smarsh and the IT unit's ability to capture
some information when a phone was turned in, prior to
that, there was no technology to capture text messages.

Is that what you were looking for?

Q I think I understood that, but I'm trying to
understand the time frame of it.

A Yeah. So Smarsh was in '21. I think in maybe
the third quarter, but I'm not exactly sure. It might

have been a little bit later than that. And then prior

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to that, we bought a -- some technology for our IT unit
to capture when people turned in their phones, to be able
to capture information that was on the phone. And then
prior to that, there was nothing.
Q Okay. So were you capturing information from
Pastor's phone when it was taken out of service?
MR. CORNELIUS: Object to form. Beyond the
scope.
MS. MELL: How is that beyond the scope, Frank?
It's in 5.
MR. CORNELIUS: You're asking -- where in 5,
Joan? Where does it talk about Pastor's phone in 5?
MS. MELL: Pierce County's retention and
preservation of text messages after 2019.
Whose do you think I'm talking about?
MR. CORNELIUS: I'm going to object to form.
Beyond the scope.
THE WITNESS: I think it's -- I think the
question was Pastor's phone and capturing texts from his.
Is that correct, Ms. Mell?
Q Yes, it is. Thank you.
A I believe that it's unlikely that any of his
text messages, if there were any, were captured by either
one of these technologies, Smarsh or the prior one that I

mentioned.

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QO What about Nordstrom?
MR. CORNELIUS: Object to form. Beyond the
scope.
THE WITNESS: Nordstrom's texts or phones?
Yeah, I'm not sure.
Q (By Ms. Mell) How about Nielsen?
Same. I'm --

MR. CORNELIUS: Object to form. Beyond the

scope.
THE WITNESS: Yeah, I'm not sure.
Q (By Ms. Mell) How about Blair?
MR. CORNELIUS: Object to form. Beyond the
scope.
THE WITNESS: Yeah, I don't think so because I
believe -- like I said, this Smarsh was implemented in

late third or fourth quarter of ‘21, around there. And
then this other technology was just shortly before that.

And depending on when they turned in their
phones or when they got new phones or replaced, would
indicate when that earlier technology was used because
that only captures the text messages when the phone is
turned into the IT unit.

Smarsh is kind of automated as they happen, and
this prior technology is only when the phone is turned

in.

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Q And when you got that prior technology when the
phones were turned in, was it when the phone was taken
out of use, did you capture all of the texts before
deleting it?

A Yeah. So whatever was on the phone when it was
turned in, would have been captured with the new
technology.

Q So how do you capture texts for case reports?

A I don't know what you mean "for case reports."

Q Well, in law enforcement investigations, if the
investigators are using texts, how do those texts become
part of the investigation?

A They could be incorporated into the police
report. They could take pictures of the texts.

Q But they weren't routinely made part of the
investigation?

A I don't know. I don't think I've ever used text
messaging myself in an investigation.

Q So do you know how the prosecutor's office
obtained texts from my clients relative to Peres --

A I believe --

Q -- and for Benitez?

A I believe the phones were provided to -- or
taken and potentially downloaded.

Q Okay. So my clients' phones were confiscated

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A I don't know.
How were the tasks assigned?
I don't recall.

Do you remember getting Ryan Olivarez's phone?

Pr O P 0

Yes, perhaps. Yes. Yes, I do. Yep.

Q So did internal IT to the sheriff's department
search those phones?

A I don't know who searched the phones.

Q Were they just -- where did you take the phone
when you got it and phones you got?

A I don't recall specifically, but probably to the
undersheriff.

Q Was anyone from the prosecutor's office there?

A Not that I recall.

Q Did you give any information from the phones to
the prosecutor's office?

A Not that I recall.

Q Who searched their phones?

A I'm not sure.

QO What information was taken from their phones?

A I'm not sure.

Q Would metadata exist to ascertain the dates of
destruction of text messages from any of the key
witnesses in the case?

MR. CORNELIUS: Object to form. Beyond the

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just this one, I think.

directly to retaining communications such as texts or

emails of the sheriff or undersheriff?

set by the State and then there's what the county does.
So the county is the one who manages the entire email
system for the entire county. And I believe that email

is retained for at least six years by the county.

County specific to each plaintiff that would suggest any

plaintiff was corrupt?

I have the one that I already provided and then

Okay.
I don't think I did any of these.

All right. So I'll switch gears for a minute

Do you want me to finish with these policies?
No.

Can you identify any policy on there that speaks

No, there's no policy regarding text messaging.
How about emails?

There is an email policy. That's Policy 212.
What's the retention requirements for email?

So the department -- there's actual retention

Okay. What facts, if any, were known to Pierce

MR. CORNELIUS: Object to form.

THE WITNESS: So in my mind, corruption means,

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workday.
So when you were at headquarters --

(Reporter requests clarification. )

BY MS. MELL: Where were you situated -- when you were
at headquarters, where were you situated?

There was an office designated as the sheriff's office,
and I occupied that.

From your office at the sheriff's department, how did
you perform your job functions relative to technologies
that you utilized?

MR. CORNELIUS: Object to form.

THE WITNESS: With regard to technologies, I
had access to a cell phone, a computer, and a laptop.
BY MS. MELL: No tablets?

Yes. And, actually, the computer that I had access to
was a laptop, a computer which I plugged into a
computer port and the -- I also had a tablet, which I
had access to and used.

And so when you said, "computer" and "laptop," is that
one piece of hardware?

Actually, again, it was an issue of docking a laptop.
Okay. So you didn't have a separate desktop,
standalone computer?

Yes.

And did you carry two phones or one phone?

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I believe I carried one phone. There may have been
times when I carried a personal cell phone.
Do you remember your phone number?
I do not. I'm sorry.
Did it text?
I believe, at that time, it texted, but I didn't. I'm
not the greatest technological person.
Was there any prohibition against text messaging during
your tenure?
I don't recall whether there was or not.
What was your practice in preserving text messages?
I will not be able to answer that out of ignorance. I
don't know.

(Reporter requests clarification. )

MS. MELL: I didn't hear the objection. Was
there one?

MR. CORNELIUS: Object to form.

MS. MELL: What's the objection to form?

MR. CORNELIUS: Yes, there was.

MS. MELL: Yeah. Why? What's wrong with the
form of the question?

MR. CORNELIUS: -- in evidence. It assumes
facts not in evidence, Joan, and he testified that he
didn't text; so that was the basis.

MS. MELL: But he receives texts; so --

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MR. CORNELIUS: If you want to clarify your
question, you can clarify your question. I believe it
was vague as well.

MS. MELL: Oh, okay.

BY MS. MELL: Was the phone that was work-related that
you used for work issued by the County?

Yes, it was.

Do you know what kind of phone it was?

Oh, goodness. I think I had three in all -- during my
tenure, since we changed out a couple of times. And
no, I don't -- I don't recall the brand. I think I had
a non-flip phone by the end of my tenure.

Do you know whether or not it was backed up to cloud
storage?

I don't know the answer to that.

Do you know what your obligations are when acting as an
elected official to retain your communications?

I'm not recalling specifics of that, no.

Do you know that there's a retention schedule
applicable to your communications as sheriff?

I believe, in general, I know that communications need
to be -- need to be reserved and preserved.

Do you know how long?

I do not.

What did you do to ensure that your communications were

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retained and preserved in conformance with retention
laws?

I did not do anything beyond relying on my people who
were in charge of data and data preservation in the
agency.

So who's that?

I'm sorry?

Who's your "people"?

I don't recall names. I'm sorry.

Did you ever have a conversation with anyone about
making sure your communications were retained in
compliance with the law?

I don't recall having conversations or not having
conversations. I don't recall.

Did they work for you?

Yes.

So the people you relied on were sheriff's department
employees?

That is true.

But you don't remember any of them at this point?

I'm sorry. I don't.

Do you remember ever having any communications with any
of them?

I may have, but I recall no specific communication.

Do you recall ever having done anything to ensure that

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your communications were properly retained?

MR. CORNELIUS: Object to form.

THE WITNESS: I just could tell you I have no
recollection of discussions about that. They may have
taken place, but it's been quite a long time.

BY MS. MELL: Do you know whether or not your text
communications would be routed into your email?
I don't know the answer to that.
Do you remember getting texts from anyone?
I probably did, but I don't remember specifically.
And, as I said, I was technologically a bit backwards;
so did not do a great deal of texting myself or any
texting myself.
Were you part of any group text?
You know, I don't recall whether I was or was not.
Did you use any instant messaging programs to
communicate?
I don't know the answer to that. In fact, I'm not sure
I know what an instant messaging program is. I'm
sorry.
Did you -- strike that.

Did you utilize any technical or software systems
that allowed you to communicate with a group of your
subordinates from your tablet or your phone without

calling them?

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1 MR. CORNELIUS: Object to form.

2 THE WITNESS: I know that I emailed people
3 and emailed them about meetings or emailed them about
4 questions of particular projects that were ongoing.

5 Q BY MS. MELL: Do you recall having any, like,

6 Microsoft Teams program? Are you familiar with

7 anything like that?

8 | A I'm sorry. I don't -- I'm not familiar.

9 Q Did you use your personal cell phone to communicate

0 with any of your subordinates?

11 | A I do not believe -- I know I didn't do it regularly

i2 because I tried to reserve my personal cell phone for
13 family calls.

14 Q Have you searched your personal cell phone for any

15 communication data related to this lawsuit in response
16 to the discovery propounded to the County?

17 A I have not.

18 0 Why not?

19 | A Well, number one, it did not occur to me. And number
20 two, I got a new cell phone shortly after I left, a new
ai personal cell phone.

22 Q What kind of personal cell phone did you get?

23 A I got an iPhone.

24 O Did you have an iPhone before?

25 | A You know, I'm sorry. I can't recall whether I did or

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did not.
Do you have a cloud for your personal data?
I believe there is data that I'm storing currently on
the cloud. I don't know if that goes through my cell
phone, but I know there is storage on the cloud from my
personal computer at home.
And do you know whether or not that dates back to your
tenure with Pierce County?
I believe the question was to -- was to personal cell
phone and saving on the cloud. And, again, the
personal cell phone is new after I left the County.
Well, you had a personal cell phone before, you just
don't remember what it was; right?
Right.
Okay. So do you remember whether or not you were
cloud-storing data from the cell phone you had prior to
leaving the County?
I'm sorry. I do not.
And is it correct that you have not searched -- well,
strike that.

What do you have in terms of technology at home?
A laptop or desktop?
I have a desktop, and I have a tablet.
And what's the tablet? Is it -- Apple product? Or

other?

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